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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                          CIVIL ACTION NO. 3:18-CV-855-DJH-CHL

 LARRY WOODS,                                                                             Plaintiff,

 v.

 TARGET CORPORATION,                                                                   Defendant.

                                                ORDER

         The undersigned held a telephonic status conference in this matter on October 21, 2021.

 Participating were the following:

         FOR PLAINTIFF:                  None

         FOR DEFENDANT:                  Richard Paul Schiller, Megan L. J. Adkins

         The Court set this conference to discuss the status of the case. Given Plaintiff’s counsel’s

 absence, the Court will direct the Parties to file a joint status report as set forth below. The Court

 reminds the Parties that they may consent to magistrate judge jurisdiction at any time, but the

 Parties should only include a statement regarding consent in their joint status report if there is

 unanimous agreement to consent.

         Defense counsel inquired as to the procedure for setting a trial date. The Parties are advised

 that the Court generally will not set a trial date until Daubert/dispositive motions, if any, have been

 filed and ruled upon. If the Parties do not intend to file any Daubert/dispositive motions, they may

 file a motion for a trial date so stating at any time.



         Accordingly,

         IT IS HEREBY ORDERED that on or before October 29, 2021, the Parties shall file a

 joint status report regarding:
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             (1)    whether they jointly or severally believe that either additional ex parte calls

                    regarding settlement or a second settlement conference would be productive; and

             (2)    their intentions with respect to the filing of dispositive motions including, but not

                    limited to, whether Defendant intends to refile and update the previous motion it

                    filed with the Court (DN 35), whether it requests that the Court consider its previous

                    motion resubmitted, and whether Plaintiff intends to file a new response.




       cc: Counsel of record
October 21, 2021          0|5




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